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Frequently Asked Questions about ISRC Codes
  isrc.com/general-faq.html




Get ISRC Codes for your music and video today!

To learn more about ISRC codes, please first read the FAQ (frequently asked questions)
below. We have worked hard to make the process as simple as possible. Please contact us by
phone or chat for additional help.

(If you already know what you need, please click here to purchase your ISRC codes and/or
UPCs now.)

Let’s get started…




       What are ISRC Codes and why do I need them?


       Is the ISRC code different from a UPC code?


       How much does it cost to register ISRC codes for my songs or videos?


       My business is outside of the United States, can I still purchase my ISRCs
       from you?


       How do I get ISRC Codes for my music and video?




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What do I get when I order from The ISRC Team?


When do I get my ISRC Codes?


Do I need a UPC Code for digital-only releases (no physical copies are made)?


Do same songs occurring on multiple releases require different ISRC codes?


How do I handle ISRC codes for cover songs?


Do I need a separate ISRC code for my videos (full motion picture music
videos, visualizer videos, lyric or static-image videos, and teaser/commercial
videos)?


Can I get ISRC codes before I have all of my track information finalized?


What is the best way to submit my track info if I didn't submit it all at the time
of purchase?


Are the dashes (-) part of my ISRC code?


How can my ISRC Codes be embedded in my music and video?


What do I need to know about listing directly with Apple Music (iTunes)?


What is SoundScan, why does it matter, and how do I register with it?


What is Mediabase, why does it matter, and how do I register with it?


What is BDSradio (formerly Nielsen BDS), why does it matter, and how do I
register with it?


What are the Official Charts, why do they matter, and how do I register?


What do I need to know about ISRC Codes for Audio Books, Podcasts, and
other Spoken Word Recordings?




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What are ISRC Codes and why do I need them?



  ISRC (International Standard Recording Code) is the globally recognized standard
  numbering system for audio and music video recordings. It comprises a 12-digit
  alphanumeric code and functions as a universal identification number for each sound
  recording.

  ISRC codes are primarily used to identify and catalog individual songs (tracks) on an
  album. The ISRC allows you to get paid for digital music sales by ensuring that your
  royalties are tracked properly. ISRC codes are necessary to sell your individual tracks
  via Apple Music (iTunes) and other online music distributors. They are also required for
  any songs that you plan to offer for streaming on Spotify and other streaming services.

  Similarly, you need to get ISRC codes in order to have your songs participate in the
  Billboard charts. In order to have a chance at making the Billboard music charts, your
  release must be registered with SoundScan using your ISRC codes for the individual
  tracks. If you do not register then your sales figures are not counted, and you remain
  invisible to the system.

  ISRC Codes are also used to identify videos and spoken word recordings such as
  audio books, sermons, and training programs.




Is the ISRC code different from a UPC code?




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  Yes, it is.

  The ISRC is your Sound/Video Recording Identifier. The International Standard
  Recording Code (ISRC) is the standard unique international identifier for sound and
  music video recording itself. The ISRC is tied to the recording in the track and not the
  carrier of the track (CD/Vinyl/Digital Album or individual digital sound/video file).

  The UPC is your Release Identifier. The Universal Product Code (UPC) is the
  standard unique identifier for the release that carries your audio or video
  performance(s). The UPC may identify a single, an EP, an LP and the various versions
  thereof (digital download, CD, vinyl, tape, or DVD).

  You can get both the required ISRC and UPC codes on our order form.




How much does it cost to register ISRC codes for my songs or videos?




                         Only $2 per track and $30 to register!




   For how many tracks do you need ISRCs:               It's only   $


  The registration fee for your album, single, or DVD includes issuance of your ISRC
  codes, the collection of your track information, and the database submission of your
  tracks as required by the Recording Industry Association of America and IFPI.


       Are there other ways of getting ISRC codes?

       Yes, there are two other ways:
          1. You could get them directly from the ISRC authority. But, they charge $95
             and you will have to handle the assignment and registration on your own.
          2. Some agents, labels, and other third parties offer ISRC services as part of a
             bundle of services that you hire them for. Sometimes they advertise this as
             "free ISRC codes". Read more here.




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My business is outside of the United States, can I still purchase my ISRCs from
you?


  Yes, absolutely. We have provided ISRC Codes to artists in over 157 countries and are
  authorized by the governing body of ISRC to issue International Standard Recording
  Codes to clients in ANY country.




How do I get ISRC Codes for my music and video?



  You can obtain your ISRC codes from us today, using your Credit Card or Paypal
  account. Here is the process…

   1st    Go to our Order Page or call us at 1-877-872-2060 (USA/Canada) or +1-404-
          869-0701 (international).

   2nd    Place your order.

   3rd    Complete the track registration form. What if I do not have all of the
          information?




What do I get when I order from The ISRC Team?




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   1st    Upon completion of your order, you receive an email confirmation of your
          purchase of ISRC Codes, UPC Codes, and File Processing.

   2nd    The ISRC Team assigns your official ISRC code for each track or video and
          UPC code for the versions of the release.

   3rd    We send your ISRC code assignment and the UPC codes to you via email.

   4th    We file proper submission of your codes with the ISRC database appointed by
          the Recording Industry Association and IFPI.




When do I get my ISRC Codes?


  The turn-around time from receipt of your track information is often within a few hours.
  All orders received before 4 p.m. Eastern Time on business days are completed the
  same day. Orders placed after 4 p.m. will be processed next business day. If it’s after
  4pm and you urgently need your ISRC codes today, please call us 1-877-872-2060
  (toll-free) or +1-404-869-0701 (international) and we will see what we can do to help.




Do I need a UPC Code for digital-only releases (no physical copies are made)?




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  The retailers, online distributors, and the Billboard Charts (SoundScan) set forth these
  requirements:

  You need ISRC codes for each track of your album. However, the album itself requires
  a UPC code. In fact, if you plan to sell your album as a digital download AND as a
  physical audio CD then you need 2 UPC codes: one for the digital album download and
  a second one for the physical audio CD. This is the only way that performance on your
  individual songs can be tracked versus sales of the physical audio CD versus
  downloads of the complete digital album.



      What about Singles?

      For singles, you definitely need an ISRC code for the track. It is highly
      recommended that you also get a UPC code for singles because a UPC code is
      required on a single by:
            Apple Music (iTunes)
            SoundScan to participate in the Billboard Charts
            Retailers, if you plan to release the single as a physical CD
            Even most all of the aggregators, streaming sites, and download sites




Do same songs occurring on multiple releases require different ISRC codes?




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  No. The ISRC code for a song stays the same no matter what album this track occurs
  on. A new ISRC is required only if ANYTHING about the song changes (track length,
  title, audio mastering, etc.).

  According to the ISRC Manual, a new ISRC must be issued when:
       A sound recording is re-mixed or edited.
       If a new fade changes the length of a track by more than 10 seconds.
       Edits that change the length of a sound recording by more than 10 seconds
       (playing time is measured from the first recorded modulation to the last recorded
       modulation).
       A previously released sound recording is partially used as part of a compilation.
       A "full restoration" of a historical recording is performed by re-mastering, re-
       pitching, re-equalizing, de-noising or de-clicking a sound recording to meet
       contemporary quality standards. The registrant of the recording has discretion
       when making the determination between full re-mastering (sound restoration) and
       simple re-mastering (reproduction without sound restoration).




How do I handle ISRC codes for cover songs?


  ISRC codes identify audio or video performances. Your cover is a different performance
  from the original. Hence, a cover song requires its own ISRC just like any other song.
  (When you complete our track data submission form, you simply list yourself or your
  band as the featured artist along with the track’s original title.)




Do I need a separate ISRC code for my videos (full motion picture music videos,
visualizer videos, lyric or static-image videos, and teaser/commercial videos)?




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  Yes, you do. The registrants must be able to distinguish between the ISRCs that are
  assigned to audio and those that are assigned to video. Conventionally, video ISRCs
  are identified with a “9” in position #8 of the 12-digit video ISRC code.

  Please note, you will need separate unique ISRC codes for different types of your
  videos:
       full motion picture music videos,
       visualizer videos,
       lyric or static-image videos,
       teaser/commercial videos,
       explicit vs. TV versions of your videos.




Can I get ISRC codes before I have all of my track information finalized?



  Yes, you can get ISRC codes before having 100% of the track information finalized. We
  understand that you may need the ISRC codes for mastering but do not yet have
  complete track times, for example. That is OK!

  For us to issue ISRC codes to you, only Artist and Track Title are required.

  Please note, however, that we can only pass along complete information to the
  Recording Industry (including the Track Duration, Version, and Recording Date). While
  it is not required for distribution of your work presently, it is highly recommended. After
  completion of your final mastering, consider ordering a Track Information Update at
  only $15 via our order form to complete the missing optional information.




What is the best way to submit my track info if I didn't submit it all at the time of
purchase?




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  You've got 3 different options:
    1. Enter the information into the spreadsheet we sent you with your ISRC codes and
       email it back to us;
    2. Use the link we sent you in your receipt email;
    3. Use this form https://www.isrc.com/trackdata.php (You don't have to complete
       everything again. Just fill in what you were missing).




Are the dashes (-) part of my ISRC code?


  ISRC codes look like this: **-***-**-*****. They are structured using dashes for easier
  readability. However, the dashes are NOT considered to be part of the 12-digit ISRC
  code. When entering your ISRC codes at an online music distribution site like Apple
  Music (iTunes), registering at SoundScan, or encoding your ISRCs, you should enter it
  as a 12-digit code without dashes or spaces. (Unless, of course, they specifically
  instruct you to enter it differently.)




How can my ISRC Codes be embedded in my music and video?



  We are often asked: How are ISRC (and UPC) codes embedded in music or video?
  There are two ways in which ISRC and UPC codes get encoded in your music and
  video. Both are important and done SEPARATELY.

  1) Embedding ISRC Codes in your individual digital audio or video files for
  uploading, selling/streaming online, radio submission, and a more complete
  copyright submission. (Done by us – see our Embedding Service)

  2) Embedding ISRC Codes in the Master Audio CD for duplication and mass
  production. (Done by your mastering house, studio, or duplication facility.)

  Click to view our ISRC Embedding Guide.




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What do I need to know about listing directly with Apple Music (iTunes)?



  Please click for important information regarding using your ISRC Codes for Apple Music
  (iTunes).




What is SoundScan, why does it matter, and how do I register with it?



  Luminate’s SoundScan (formerly Nielsen SoundScan) tracks sales and streams. In
  order to have a chance at making the Billboard music sales/streaming charts, any
  release must be registered with SoundScan using UPC number (for the whole album)
  and ISRC codes (for the individual tracks). Without a registration, the sales figures will
  not be counted, and you will remain invisible to the system.

  At the time of this FAQ’s publication, Luminate SoundScan registration is still free of
  charge.

  Please click for our SoundScan Registration Guide.




What is Mediabase, why does it matter, and how do I register with it?




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  Mediabase tracks airplay for the charts, monitoring the music airplay of more than
  1,800 media outlets in over 160 markets. In order to have a chance at making the
  Billboard music charts, your release should be registered AND uploaded as stripped
  files to Mediabase. Without registration AND upload of your stripped files, airplays will
  not be counted for the charts, and will you remain invisible to the system.

  At the time of this FAQ’s publication, Mediabase registration is still free of charge. Don’t
  miss out; get registered!

  Please click for our Mediabase Registration Guide.




What is BDSradio (formerly Nielsen BDS), why does it matter, and how do I register
with it?



  As of November 1st, 2022 BDSradio airplay tracking services have been merged into
  Mediabase. This means you no longer have to register in two different spots for your
  airplay tracking.

  Please click for our Mediabase Registration Guide.




What are the Official Charts, why do they matter, and how do I register?




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  Official Charts Company is the UK’s source for definitive music and video charts.
  According to them, they collect sales and streaming data from “all significant
  retailers/music services – including Apple Music (iTunes), Amazon, HMV, Google Play,
  Tesco, Sainsbury’s, Asda, Morrisons, Spotify, Deezer and over 2,600 independent
  record and video shops. As a result, we estimate that we capture around 99% of all
  singles sold, 98% of all albums and over 90% of all videos/DVDs.”

  A registration of your works with the Official Charts assures that your sales & streams
  get counted properly.

  Please click for our Official Charts Registration Guide.




What do I need to know about ISRC Codes for Audio Books, Podcasts, and other
Spoken Word Recordings?



  ISRC Codes are standard for spoken word recordings such as audio books, Podcasts,
  training programs, sermons, and similar audio recordings.

  Please click to learn more about how to assign ISRC Codes for audio books, podcasts,
  and other spoken word recordings.




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"I received my ISRC codes in a neat spreadsheet
with an amazingly fast turnaround time. I also
made use of the chat system where a friendly
agent was able to address my queries of being a
first time user of the service with an immediate
and effective response. I was very pleased and
will be using this service again for our next
release :)"

Robert Godfrey
Mayhem Deranged
London, United Kingdom




"Fast and efficient service with very helpful support team!"

Stephen McDonogh
BBC Studios
London, United Kingdom




"Easy, effective and personable. Got it all done online and when I did have a
question, I got to speak to a REAL person (with a sense of humor)."

Carmela Rappazzo
Myth and Legends (Apple Music (iTunes) | Amazon)
New York City, NY




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"This was our first time purchasing ISRC Codes. isrc.com has a very easy to
understand website, easy purchasing process, and for the simple questions that I
had, a very quick and responsive customer service chat function. The codes were
delivered via e-mail in just a few hours and we were able to move forward with the
rest of our music project. We will use the ISRC Team again for sure."

Rob Rigoni
Budapest West
Seattle, Washington




"The customer service at The ISRC Team is incredible. They have a live chat
option and are very responsive and helpful. Anything to make the tedious process
of music uploading more efficient and enjoyable is appreciated. And
ISRCmusicCodes goes above and beyond."

Christyn Trelow
N3WLEVEL
Los Angeles, CA & Nashville, TN




"I had a lot of questions about ISRC that were answered quickly and friendly, and
was given great peace of mind. It was a pleasure working with you."

Wesley Jensen
Wesley Jensen Music
Redding, California




"We’re very pleased with your service. The friendly staff made ordering ISRC
Codes easy for us. We look forward to working with you in the future."

Holger Kermer
A-Minor Records & Publishing
St. Gallen, Switzerland




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"I own a music business based in Nashville, TN. I was very happy with how easy
it was to register and receive these codes. It was made simple to understand and
I got my codes on the same day. I’m very happy! Thank you!"

Brad Nowell
NSound Entertainment
Nashville, Tennessee




"Thanks for the great service. I will definitely be back for more."

Jerry Christie
Toluca Lake, California




"The easiest step of the whole CD production process was purchasing our ISRC
codes from you. Super fast and accurate service. We could not be happier!"

Jaigh Lowder & Jill Manning
Lowder & Manning Music
Petersburg, IL, USA




"As an entrepreneur I’d like to give very high complements to your company. I’m
impressed by your level of expertise even with products that aren’t precisely your
line of work. You answered every question with incredible professionalism and
ethics… that’s something I don’t take for granted. As an artist, I’d like to express
my infinite gratitude for making my deadline your own and working on a Sunday to
return my codes so I can make it on time. A heartfelt thank you from me to you!
Love & Light."

Yisel Duque
Duque Productions
Miami, Florida



"Thanks for the rush delivery on our ISRC codes tonight - you are fantastic! We
will definitely use you guys again!"

BLUEBERRY TRICYCLE
Texas, USA



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"I received my order fast and in time. I will be using your services in future."

Sergey Sukhotskiy
DJ Molniya
Novorossiysk, Russia




"All was really easy and you guys were great to work with. Thanks!"

Phil DaRosa
TPS Presents
Martha's Vineyard, MA




"Got my ISRCs hassle free and super quick. Thanks for the great service!"

Angela Dodson Music
Nashville, Tennessee




"Excellent service, thank you!"

BJ Estares and Route 61
Disk Dog Noise Reproductions
Colorado Springs, CO, USA




"We’re happy with your service. Thank you for your help!"

Suffreny Plancher
The Profession Entertainment Music Group
Van Nuys, California




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"Thanks for the great service!"

Rodney Bakerr
Rockin' House Records
Chicago, Illinois




"As a first time customer with a pressing deadline, I found the service exemplary
and the ISRC delivered as promised. I really appreciated the well-informed
representative who made the process easy to understand."

Aenea Keyes
MusicAEterna
San Anselmo, California




"Getting ISRC codes for my band's CD could not have been easier! The purchase
was easy and they were emailed to me the next morning. I will definitely be back
for our next album!"

Gregory Mathews
Fwaza Music
Chula Vista, CA




“As a new start-up Company, being able to call on the expertise of the team at
Simply Barcodes has been a huge help to us, we have launched over 20 new
products this year, with another 20+ to come in Q4, all globally, and the team has
been extremely supportive of these efforts to ensure we are compliant with both
UPC and EAN requirements around the world. We owe them a huge thanks!!”

Jerry Simons
SMS Audio - by 50 CENT
Delray Beach, FL




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“I'm extremely happy with your service, thanks!”

Hao-Yue
Hollywood, California




“I was pleased with your ISRC service.”

Drummer Casey Glass
Loveland, Colorado




“I am happy with my experience with Simply Barcodes. I own a digital printing
shop and I was impressed with the ease of the process. All we had to do was
order and that same day we were able to put the barcode in the packaging
artwork. I did not have any problems.”

Ysabelle Roy
DIGIPUB
Port-au-Prince, Petion Ville, Haiti



“I recommend Simply Barcodes for any small business who is ready to get started
and needs UPC codes. I had my code within one hour and I did not expect such a
quick response. The delivery time was great!”

Vanessa Rivera
MiamiHot Productions
Miami, FL, USA



“This was our first foray into the world of barcodes. It was all a little daunting the
more people you speak to about how to create them, what information is required
and so on. Then we found Simply Barcodes and voila we had high resolution
print-ready barcode for our new product release.



Thanks for the help and turnaround under 2 hours is just amazing!”

David Russell
F7 Studio
Toronto, Canada



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         "I will definitely do business with you next time I need ISRC codes. Very easy and
         fast. isrc.com is the way to go."

         Carmen Grillo
         Big Surprise Music
         Encino, California



         "Thanks for great and prompt service! I am totally satisfied!"

         Leroy Griffith JR
         Oon Lah Records
         Brooklyn, New York City



         "The interactive scroll on isrc.com takes you directly to the section you need to
         read, saved me a lot of time. The info in each section was also very concise and
         answered each question I had about ISRC codes. Thank you ISRC Team!"

         William Cusack
         William Cusack Music
         Garden City, GA



         "My experience with ISRCmusicCodes was GREAT!!! I can put my song on ANY
         site I want and receive recognition for it. So, instead of my song just being heard
         and talked about, my plays can now be tracked. Kudos to ISRCmusicCodes!!!!"

         Kashmir Satchel-Jarrett
         College Park, GA



         "I am thoroughly pleased with the ISRC team. Because of their efficiency in
         handling my music, I was able to clinch a deal with a publisher the same day. In
         the music business timing is essential. I thank isrc.com for making that happen."

         Bonita Secunda
         Breaking Point Productions
         New Haven, Vermont



Read more testimonials ...




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